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                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

  DXC TECHNOLOGY COMPANY.

                          Petitioner,
                                                              19-cv-7954 (VEC)
            V,
                                                              APPLICATION PORA SEALING
 HEWLETT PACKARD ENTERPRISE                                   ORDER
 COMPANY,
                          Respondent.


        Following a confidential arbitration between Petitioner DXC Technology Company
("DXC") and Respondent Hewlett Packard Enterprise Company ("HPE") captioned DXC

Technology Company v. Hewlett Packard Enterprise Company, CPR Pile No. 0· 18-28-0-AA
(the "Arbitration"), on August 15, 2019, a panel of three arbitrators issued a final award

(the ''Award,..). As is customary in arbitration. the pm1ies' arbitration agreement provides th11t

the Arbitration and Award would be kept confidential. (See Declaration of Adam B. Shamah in

Support of the Application for a Sealing Order ("Declaration"), 4.) The arbitration agreement

further requires the parties to request that the court maintain all filings under seal in connection

with proceedinss to confinn the Award. (See id) In addition, the protective order in the

Arbitration protects the confidentiality of materials designated as confidential ("Confidential

Arbitration Material"), many of which are quoted, summarized, and described in the Award.

(Id. ff S-6.) DXC intends to petition the Court to confinn the Award, and therefore respectfully

requests an order from this Court placing the following documents under seal:

       1.        DXC's Petition to Confirm Arbitration Award (the "Petition1')
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        2.      The Declaration of Adam B. Shamah in Support of the Petition, and its

                accompanying exhibits, to wit: the Award (Exhibit 1); the Separation and

                Distribution Agreement between DXC and HPE dated May 24, 2016, as amended

                (Exhibit 2); and the Dispute Resolution Agreement between DXC and HPE

                entered on March 23, 2018 (Exhibit 3);

        3.      DXC's Momorandum of Law in Support of the Petition;

        4.      DXC's Notice of Petition and Rulo 7.1 Statoment;

        S.      This Application for a Sealing Order: the Declaration and its accompanying

                exhibits; the Proposed Sealing Order; and

        6.      All other filings in the above-referenced action.

        While DXC recognizes that federal courts are open. public forums, notwithstanding the

strong presumption of public access to judicial documents, courts in this District have on

occasion sealed awards issued in private commercial arbitrations th,t were submitted in

connection with petitions to confmn or vacate the awards. See 111' Indus., Inc. v. Rayonier, /r,c.,

No. OS Civ. 4322 (CLB), 2005 WL 1744988, at •s (S.D.N.Y. July 20, 200S); AXA Verslcherung

AG v. New Hampshire Insurance Co.• No. 12 Civ. 6009 (JSR), Order, Dkt. 1 (S.D.N.Y. Aug. 6,

2012); Stolz Nielsen SA, •. Anima/feeds International Curp.• No. 06 Civ. 420 (JSR), Order, 0kt. 2

(S.D.N.Y. Jan. 20, 2006); Redeemer Committee ofHighland Credit Strategies Funds v. Highland

C<Jpital Managemenr LP., No. 16. Civ. 2668 (JSR), Sealing Order, Dkt. 4 (S.D.N.Y. April 11,

2016). The Second Circuit has held that a district court presiding over a motion to vacate did not

abuse its discretion "by placing the entire file, except for the court's opinions and orders, under

seal" where documents were subject to confidentiality agreements in an arbitration. DiRussa v.

Dean Witter Reynolds Inc.• 121 F.3d 818,826 (2d Cir. 1997).



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       To maintain the confidentiality of the Arbitration, the Award, and Confidential

Arbitration Material, and pursuant to its arbitration agreement, DXC submits this application to

file the materials identified above under seal. This Application is accompanied by a Proposed

Sealing Order and the Declaration of Adam B. Shamah in Support of this Application.



       Dated: August       2019
                             ,


              New York, New York
                                                    Respectfully submitted,

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